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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           :

                                                   :

                vs.                                :          CRIMINAL NO. 07-550-04

ROBERT MERRITT                                     :

                                                   :


                          JUDGMENT OF ACQUITTAL/NOT GUILTY

        AND NOW, this 17th day of May, 2013, came the attorney for the Government and the
defendant being present with counsel, and

[]       The Court having granted the defendant's motion for judgment of acquittal as to:

[]       A jury has been waived, and the Court has found the defendant not guilty as to:

[X]      The jury has returned its verdict, finding the defendant not guilty as to: Counts 9 through
         16 of the 4th Superseding Indictment

          AND IT IS THEREFORE ORDERED that Judgment in accordance with the above
finding is hereby entered pursuant to Rule 32(b), Federal Rules of Criminal Procedure.

                                                   BY THE COURT:


                                                   /s/R. Barclay Surrick
                                                   U.S. District Judge


cc: U.S. Marshal
        Probation Office
        Counsel

5/17/2013             C. Franzese
 Date                 By Whom



Cr 1 (8/80)
